 

Case 1:20-cv-00267-LMB-IDD Document5 Filed 03/31/20 Page 1st fPaelipH#|24 Print Form |

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83. 1(D) AND LOCAL
CRIMINAL RULE 57.4
In Case Number 20-cv-267-LMB . Case Name Smith v. Cuisine Solutions, Inc.

Party Represented by Applicant: Ruth Smith and the alleged Class

 

 

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

 

 

 

PERSONAL STATEMENT
FULL NAME (no initials, please) _ Patrick Harry Peluso
Bar Identification Number 47642 State Colorado
Firm Name Woodrow & Peluso, LLC
Firm Phone # 729-213-0675 Direct Dial # 720-213-0676 FAX # 303-927-0809

 

 

 

E-Mail Address _ ppeluso@weodrowpeluso.com
Office Mailing Address

 

Name(s) of federal court(s) in which I have been admitted See Attached Addendum

 

| certify that the rules of the federal court in the district in which | maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

| hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

Tam amnot_X a full-time employee of the United States of America, and if so, request exemption from the admission fee.
Patrick H. Peluso
(Applicant’s Signature)

 

I, the undersigned, do certify that | am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vic

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(Sfenature) 7 (Date)
Francis J. Driscoll, Jr. 45325
(Typed or Printed Name) (VA Bar Number)
Court Use Only:
Clerk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENIED

 

 

(Judge’s Signature) (Date)
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ADDENDUM A TO PELUSO PRO HAC VICE APPLICATION

 

Patrick H. Peluso has been admitted to practice before the following Courts.
Mr. Peluso is active and in good standing in all such Courts.

Title of Court Date of Admission
U.S. Court of Appeals for the Ninth Circuit 8/30/2018

U.S. Court of Appeals for the Eleventh Circuit 7/30/2019

U.S. District Court for the District of Colorado 1/8/2015

U.S. District Court for the Western District of Wisconsin 6/15/2016

U.S. District Court for the District of New Mexico 6/20/2016

U.S. District Court for the Eastern District of Michigan 11/28/2017

U.S. District Court for the Northern District of Illinois 2/22/2018

U.S. District Court for the Southern District of Illinois 3/14/2019

U.S. District Court for the Eastern District of Wisconsin 1/23/2020
